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                                                                                                         6/30/2021 9:05 AM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 54915707
                                                                                                             By: Joshua Hall
                                                                                                  Filed: 6/30/2021 9:05 AM

                            CAUSE NO.

REINA HERNANDEZ DE GOMEZ,                                          IN THE DISTRICT COURT OF

         PLAINTIFF,

 V.                                                                   HARRIS COUNTY,TEXAS

COSTCO WHOLESALE,INC.,

         DEFENDANT.                                                          JUDICIAL DISTRICT

         PLAINTIFF'S ORIGINAL PETITION AND FIRST SET OF DISCOVERY

         Plaintiff Reina Hernandez De Gomez ("Plaintiff') complains of Costco Wholesale, Inc.,

("Defendant") and would respectfully show unto the Court:

                                             I.
                                      DISCOVERY LEVEL

         1.     Plaintiff intends to conduct discovery in this matter under Level 3 of the Texas

Rules of Civil Procedure.


                                 JURISDICTION AND VENUE

         2.     The claims asserted arise under the common law of Texas.

         3.     Venue is proper because all or a substantial part of the events giving rise to the

incident made the basis of this case occurred in Harris County, Texas.

         4.     Plaintiff seeks recovery of damages within this Court's jurisdictional limits.

                                   HI.
               STATEMENT REGARDING MONETARY RELIEF SOUGHT

         5.     Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff seeks only monetary

relief of $100,000.00 or less, including damages of any kind, penalties, costs, expenses, pre-

judgment interest, and attorney's fees and judgment for all other relief to which Plaintiff is justly

entitled.


                                                  1                                               EXHIBIT
                                                                                                          2
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        6.     Plaintifffurther pleads that the amount in controversy does not exceed $75,000.00.

                                              IV.
                                            PARTIES

        7.     Plaintiff is a resident of Harris County, Texas.

        8.     Defendant Costco Wholesale, Inc., is a Washington corporation and is doing

substantial business in the state of Texas. Defendant Costco Wholesale, Inc., may be served

through its registered agent CT Corporation at 1999 Bryan St., Ste. 900, Dallas, Texas 75201.

        9.     To the extent that an above-named Defendant is conducting business pursuant to a

trade name or assumed name, then suit is brought against it pursuant to the terms of Rule 28 of the

Texas Rules of Civil Procedure, and Plaintiff hereby demands that upon answering this suit, they

answer in their correct legal name and assumed name.

                                               V.
                                             FACTS

        10.    On or about July 19, 2019, Plaintiff was shopping at Costco located at 14303

Rosehill Estate Lane in Cypress, Harris County, Texas. While Plaintiff was speaking to the

manager at a cash register, another Costco employee was speeding down the aisle while

pushing a large flatbed cart. Due to apparent inattention, the employee hit the back of

Plaintiff's left ankle and foot. As a result of the incident, Plaintiff suffered severe and lasting

physical injuries.

                                            VI.
                                     CAUSES OF ACTION

A.      Premises Liability

        11.    Defendant owned, occupied, and controlled the area where Plaintiff was injured.

        12.    The condition of the area where Plaintiff sustained his injuries posed an

unreasonable risk of harm and Defendant had actual knowledge or reasonably should have known

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ofthe unreasonably dangerous condition. Moreover,Plaintiff did not have actual knowledge ofthe

unreasonable dangerous condition.

       13.    Plaintiff was an invitee who entered Defendant's premises with Defendant's

knowledge and for their benefit. Defendant had a duty to warn Plaintiff ofunreasonably dangerous

conditions upon their premises or to make the unreasonably dangerous condition safe. Defendant

breached this duty by failing to warn Plaintiff ofthe known unreasonably dangerous condition and

by failing to make the unreasonably dangerous condition reasonably safe. Defendant retained

control over the security and safety of the premises and knew of the risk of harm of the

unreasonably dangerous condition that was both foreseeable and unreasonable.

                                             VII.
                                           DAMAGES

       14.    Plaintiff is entitled to recover for her actual damages including past and future

medical care, loss of earning capacity, lost wages, past and future pain and suffering, past and

future mental anguish.


                                        JURY DEMAND

       15.    Plaintiff hereby requests trial by jury and remits the appropriate fee herewith.


                                            PRAYER

       16.    Plaintiffrespectfully requests that this matter be tried to ajury, and that they recover

the following from Defendant:

       a.     Past and future medical damages;

       b.     Past and future loss of earning capacity;

       c.     Past and future physical pain and suffering;

       d.     Past and future mental anguish;


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       e.      Past and future impairment;

       f.      Disfigurement;

       g•      Past lost wages;

       h.      Prejudgment interest;

       i.      Post-judgment interest;

       j.      Costs of Court; and

       k.      All other relief to which Plaintiff is justly entitled, either at law or in equity.

                                               X.
                                       RULE 193.7 NOTICE

        17.    Pursuant to Rule 193.7 ofthe Texas Rules ofCivil Procedure,Plaintiff hereby gives

actual notice to Defendant that any and all documents produced may be used against the Defendant

at any pre-trial proceeding and/or at the trial of this matter without the necessity of authenticating

the documents.

                                          XI.
                                DISCOVERY TO DEFENDANT

        18.    Plaintiff refers Defendant to the attached Interrogatories, Request for Production,

Request for Admissions, and Request for Disclosure, and notifies Defendant that a response is

required within fifty (50) days of service of these requests. See Exhibit A.




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                                Respectfully submitted,

                                       PIERCE SICRABANEK,PLLC

                                      /s/Michael L. Grinsfelder
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                                       ATTORNEYS FOR PLAINTIFF




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